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18
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19
                                  UNITED STATES DISTRICT COURT
20
                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21
      CHASOM BROWN, WILLIAM BYATT,                       Case No. 4:20-cv-03664-YGR-SVK
22    JEREMY DAVIS, CHRISTOPHER
      CASTILLO, and MONIQUE TRUJILLO,                    DECLARATION OF JONATHAN TSE
23    individually and on behalf of themselves and       IN SUPPORT OF PLAINTIFFS’
      all others similarly situated,                     ADMINISTRATIVE MOTION TO
24                                                       SEAL PORTIONS OF PLAINTIFFS’
                    Plaintiffs,
25                                                       REQUEST FOR ORDER TO SHOW
             vs.                                         CAUSE RE SANCTIONS (DKTS. 494,
26                                                       495)
      GOOGLE LLC,
27                                                    Judge: Hon. Susan van Keulen, USMJ
                    Defendant.
28
                                                                    Case No. 4:20-cv-03664-YGR-SVK
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 1         I, Jonathan Tse, declare as follows:
 2         1.      I am a member of the bar of the State of California and an attorney at Quinn Emanuel
 3 Urquhart & Sullivan, LLP, attorneys for Defendant Google LLC (“Google”) in this action. I make

 4 this declaration of my own personal, firsthand knowledge, and if called and sworn as a witness, I

 5 could and would testify competently thereto.

 6         2.      I am making this declaration pursuant to Civil Local Rule 79-5(e)-(f) as an attorney
 7 for Google as the Designating Party, pursuant to Civil Local Rule 79-5(f)(3) in response to Dkt.

 8 487.

 9         3.      On March 16, 2022, Plaintiffs filed a Supplement in Support of Their Motion for
10 Order Requiring Google to Show Cause Why It Should Not Be Sanctioned For Discovery

11 Misconduct (Dkts. 494, 495). On March 16, 2022, I received an unredacted service copy of these

12 documents.

13         4.      I have reviewed the documents that Plaintiffs seek to file under seal pursuant to Civil
14 Local Rule 79-5. Based on my review, there is good cause to seal the following information:

15                Document                                       Basis for Sealing
     Plaintiffs’ Supplement in Support      The information requested to be sealed contains Google’s
16   of Their Motion for Order For          highly confidential and proprietary information regarding
17   Google To Show Cause for Why It        highly sensitive features of Google’s internal systems and
     Should Not Be Sanctioned for           operations, including various types of Google’s internal
18   Discovery Misconduct at                project, data signals and logs and their proprietary
                                            functionalities, as well as internal metrics, that Google
19   Pages 2:5, 2:8-16, 2:19, 2:21-22;      maintains as confidential in the ordinary course of its
     3:3, 3:5, 3:7, 3:22-23; 4:1-2, 4:11,   business and is not generally known to the public or
20   4:17-18, 4:22; 5:2, 5:20; 6:2, 6:8,    Google’s competitors. Such confidential and proprietary
21   6:10-11, 6:22, 6:24, 6:26-27; 7:2,     information reveals Google’s internal strategies, system
     7:8, 7:10, 7:16-20, 7:22-24; 8:3       designs, and business practices for operating and
22                                          maintaining many of its important services, and falls within
                                            the protected scope of the Protective Order entered in this
23                                          action. See Dkt. 81 at 2-3. Public disclosure of such
                                            confidential and proprietary information could affect
24
                                            Google’s competitive standing as competitors may alter
25                                          their systems and practices relating to competing products.
                                            It may also place Google at an increased risk of
26                                          cybersecurity threats, as third parties may seek to use the
                                            information to compromise Google’s internal practices
27                                          relating to competing products.
28

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 1   Second Declaration of Mark C. The information requested to be sealed contains Google’s
     Mao in Support of Plaintiffs’ Order highly confidential and proprietary information regarding
 2   to Show Cause Motion at              highly sensitive features of Google’s internal systems and
                                          operations, including various types of Google’s internal
 3
     Pages 1:14, 1:17, 1:21-23; 2:12,     project, data signals and logs and their proprietary
 4   2:22, 2:24; 3:1-2, 3:16, 3:21, 3:26; functionalities, as well as internal metrics, that Google
     4:1-4, 4:8-14, 4:16, 4:20            maintains as confidential in the ordinary course of its
 5                                        business and is not generally known to the public or
                                          Google’s competitors. Such confidential and proprietary
 6                                        information reveals Google’s internal strategies, system
 7                                        designs, and business practices for operating and
                                          maintaining many of its important services, and falls within
 8                                        the protected scope of the Protective Order entered in this
                                          action. See Dkt. 81 at 2-3. Public disclosure of such
 9                                        confidential and proprietary information could affect
                                          Google’s competitive standing as competitors may alter
10                                        their systems and practices relating to competing products.
11                                        It may also place Google at an increased risk of
                                          cybersecurity threats, as third parties may seek to use the
12                                        information to compromise Google’s internal practices
                                          relating to competing products.
13
     Mao Decl., Exhibit 1                 The information requested to be sealed contains Google’s
14
     (GOOG-BRWN-00536949) at              highly confidential and proprietary information regarding
15                                        highly sensitive features of Google’s internal systems and
     Entirety                             operations, including various types of Google’s internal
16                                        project, data signals and logs and their proprietary
                                          functionalities, as well as internal metrics, that Google
17                                        maintains as confidential in the ordinary course of its
                                          business and is not generally known to the public or
18
                                          Google’s competitors. Such confidential and proprietary
19                                        information reveals Google’s internal strategies, system
                                          designs, and business practices for operating and
20                                        maintaining many of its important services, and falls within
                                          the protected scope of the Protective Order entered in this
21                                        action. See Dkt. 81 at 2-3. Public disclosure of such
                                          confidential and proprietary information could affect
22
                                          Google’s competitive standing as competitors may alter
23                                        their systems and practices relating to competing products.
                                          It may also place Google at an increased risk of
24                                        cybersecurity threats, as third parties may seek to use the
                                          information to compromise Google’s internal practices
25                                        relating to competing products.
26
     Mao Decl., Exhibit 2 at              The information requested to be sealed contains Google’s
27                                        highly confidential and proprietary information regarding
     Entirety                             highly sensitive features of Google’s internal systems and
28                                        operations, including various types of Google’s internal

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 1                                       project, data signals and logs and their proprietary
                                         functionalities, as well as internal metrics, that Google
 2                                       maintains as confidential in the ordinary course of its
                                         business and is not generally known to the public or
 3
                                         Google’s competitors. Such confidential and proprietary
 4                                       information reveals Google’s internal strategies, system
                                         designs, and business practices for operating and
 5                                       maintaining many of its important services, and falls within
                                         the protected scope of the Protective Order entered in this
 6                                       action. See Dkt. 81 at 2-3. Public disclosure of such
 7                                       confidential and proprietary information could affect
                                         Google’s competitive standing as competitors may alter
 8                                       their systems and practices relating to competing products.
                                         It may also place Google at an increased risk of
 9                                       cybersecurity threats, as third parties may seek to use the
                                         information to compromise Google’s internal practices
10                                       relating to competing products.
11
     Mao Decl., Exhibit 3               The information requested to be sealed contains Google’s
12   (Excerpts of the Deposition        highly confidential and proprietary information regarding
     Transcript   of     Dr. Caitlin    highly sensitive features of Google’s internal systems and
13   Sadowski) at                       operations, including various types of Google’s internal
                                        project, data signals and logs and their proprietary
14
     Pages 18:23-24; 19:6-7, 19:10;     functionalities, that Google maintains as confidential in the
15   22:2-3; 23:8-9, 23:21-22; 24:2,    ordinary course of its business and is not generally known
     24:8-9; 64:11-12; 65:1; 66:15-20; to the public or Google’s competitors. Such confidential and
16   67:25-68:1; 68:6-8, 68:17-19,      proprietary information reveals Google’s internal strategies,
     68:22-23; 69:5-6, 69:8-10, 69:15- system designs, and business practices for operating and
17   16; 69:25-70:1; 70:3,5-6, 70:18,   maintaining many of its important services, and falls within
     70:21, 70:23; 71:8-72:2; 72:20-25; the protected scope of the Protective Order entered in this
18
     73:5-6, 73:14-15, 73:17-22; 74:1- action. See Dkt. 81 at 2-3. Public disclosure of such
19   3, 74:6-8, 74:10, 74:17-18, 74:25; confidential and proprietary information could affect
     75:1, 75:17-20, 75:24-25; 76:1-2, Google’s competitive standing as competitors may alter
20   76:13-14, 76:24-25; 77:20-23;      their systems and practices relating to competing products.
     78:3-4, 78:13-14; 80:8-9, 80:13,   It may also place Google at an increased risk of
21   80:16, 80:24; 81:3-5, 81:7, 81:12- cybersecurity threats, as third parties may seek to use the
     14; 82:6-8, 82:10, 82:12, 82:23;   information to compromise Google’s internal practices
22
     83:21-22; 84:7-10, 84:13-14; 85:3, relating to competing products.
23   85:11, 85:15; 86:18,2 86:5; 87:4,
     87:10, 87:15-17, 87:23; 88:4,
24   88:10; 89:15-22, 89:24; 90:10-11;
     91:2-4, 91:8, 91:11-13, 91:17;
25   92:11
26
     Mao Decl., Exhibit 4        The information requested to be sealed contains Google’s
27   (Excerpts of the Deposition highly confidential and proprietary information regarding
     Transcript of Mandy Liu) at highly sensitive features of Google’s internal systems and
28                               operations, including various types of Google’s internal

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 1    Pages 14:22, 14:24; 15:4, 15:7,       project, data signals and logs and their proprietary
      15:10-12, 15:14-15, 15:18, 15:25;     functionalities, as well as internal metrics, that Google
 2    18:1, 18:3-4, 18:14, 18:18-20,        maintains as confidential in the ordinary course of its
      18:24; 19:3, 19:8, 19:11, 19:16,      business and is not generally known to the public or
 3
      19:22, 19:25; 20:1; 39:1-2, 39:8,     Google’s competitors. Such confidential and proprietary
 4    39:10; 40:5-6, 40:9, 40:11-12;        information reveals Google’s internal strategies, system
      41:7, 41:10; 42:2, 42:8, 42:11,       designs, and business practices for operating and
 5    42:16; 43:1, 43:15                    maintaining many of its important services, and falls within
                                            the protected scope of the Protective Order entered in this
 6                                          action. See Dkt. 81 at 2-3. Public disclosure of such
 7                                          confidential and proprietary information could affect
                                            Google’s competitive standing as competitors may alter
 8                                          their systems and practices relating to competing products.
                                            It may also place Google at an increased risk of
 9                                          cybersecurity threats, as third parties may seek to use the
                                            information to compromise Google’s internal practices
10                                          relating to competing products.
11

12
            5.      Google’s request is narrowly tailored in order to protect its confidential information.
13
     These redactions are limited in scope and volume. Because the proposed redactions are narrowly
14
     tailored and limited to portions containing Google’s highly-confidential or confidential information,
15
     Google requests that the portions of the aforementioned documents be redacted from any public
16
     version of those documents.
17
            6.      Google does not seek to redact or file under seal any of the remaining portions of
18
     Plaintiffs’ Supplemental Motion not indicated in the table above.
19

20
            I declare under penalty of perjury of the laws of the United States that the foregoing is true
21
     and correct. Executed in San Francisco, California on March 23, 2022.
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 1 DATED: March 23, 2022               QUINN EMANUEL URQUHART &
                                       SULLIVAN, LLP
 2

 3

 4                                      By          /s/ Jonathan Tse
                                             Jonathan Tse
 5
                                             Attorney for Defendant
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